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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )       CASE NO.: 1:19-CR-13-HAB
                                                       )
MICHAEL A. MAXEY                                       )

                            SENTENCING SCHEDULING ORDER
                                   (Revised 4/1/2016)

       Pursuant to the Order Adopting the Magistrate Judge’s Report and Recommendations

issued on May 27, 2021, this matter is SCHEDULED for Sentencing on August 18, 2021, at 10:00

AM before Judge Holly A. Brady. Telephonic Sentencing Status Conference SCHEDULED for

August 10, 2021, at 10:30 AM. The Court will initiate the call. Parties are DIRECTED to file any

motions and/or memoranda related to sentencing and/or request for evidentiary hearing either four

(4) full business days after the Final Pre-Sentence Report has been submitted or two (2) full

business days before the Telephonic Sentencing Status Conference, whichever occurs earlier. For

any cases involving forfeiture: By July 19, 2021, the Government must file a Notice advising

as to the status of any forfeiture proceedings, including whether the Defendant agreed to forfeit

the property at issue in a plea agreement, whether criminal forfeiture is still being sought as part

of the sentence and judgment or whether, instead, the Government is pursuing civil or

administrative forfeiture; the date of any preliminary order of forfeiture; and the status of any third

party claims to interest in the property.


 Date of Plea or Verdict:                                                  May 12, 2021

 The Proposed Pre-Sentence Report Shall be Disclosed
 to Counsel no Later Than:                                                July 7, 2021
                                                                   (42 Days Before Sentencing)
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 Counsel’s Written Objections or Acknowledgment
 of No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Pre-Sentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                 August 4, 2021
                                                         (14 Days Before Sentencing)

 Notice Advising of Forfeiture Status to be Filed No
 Later Than:                                                    July 19, 2021
                                                         (30 Days Before Sentencing)

 Telephonic Sentencing Status Conference:
                                                        August 10, 2021 at 10:30 AM



 Judgment and Sentencing Date:                          August 18, 2021 at 10:00 AM
                                                        (At Least 70 Days After Plea or
                                                                   Verdict)


      SO ORDERED on May 27, 2021.


                                             s/ Holly A. Brady
                                             JUDGE HOLLY A. BRADY
                                             UNITED STATES DISTRICT COURT
